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                      UNITED STATES DISTRICT COURT
16
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES, et al.,         ) Case No. CV 85-4544
18                                         )
19           Plaintiffs,                   ) NOTICE OF APPEAL
                                           )
20                v.                       )
21                                         )
     MATTHEW WHITAKER, Acting              )
22   Attorney General of the United States;)
23
     et al.,                               )
                                           )
24           Defendants.                   )
25
                                           )

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 1          Defendants the U.S. Department of Homeland Security, including its
 2
     components U.S. Immigration and Customs Enforcement and U.S. Customs and
 3

 4
     Border Protection, and the U.S. Department of Health and Human Services, hereby

 5   appeal the Court’s October 5, 2018 and November 5, 2018 Orders, ECF Nos. 494,
 6
     518, in the above-captioned case to the United States Court of Appeals for the Ninth
 7
     Circuit.
 8

 9   DATED:       December 4, 2018          Respectfully submitted,

10
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 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on December 4, 2018, I served the foregoing pleading

 4   on all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7

 8                                               /s/ Sarah B. Fabian
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